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             IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF TEXAS IN THE DALLAS
                           DIVISION


Rafael Segovia,                           *
individually,                             *
                                          *
        Plaintiff,                        *
v.                                        *
                                          * Case No. 3:22 – CV- 0530
                                          *
BAMBOO INVESTMENTS,                       *
LLC.                                      *
a limited liability company,              *
                                          *
            Defendant.                    *

__________________________________________________________________

                                    COMPLAINT

        Plaintiff Rafael Segovia (“Segovia” or “Plaintiff”) hereby sues Defendant,

BAMBOO INVESTMENTS, LLC., limited liability company, (hereinafter

“Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                          JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiffs’ claims pursuant to 42 U.S.C.

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§ 12181 et seq., based upon Defendant, BAMBOO INVESTMENTS, LLC., failure

to remove physical barriers to access and violations of Title III of the ADA.

       2.     Venue is properly located in the Northern District of Texas in the Dallas

Division pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district

of the property situs or the judicial district in which a substantial part of the events

or omissions giving rise to Plaintiffs’ claims occurred. The Defendants’ property is

located in and does business within this judicial district, and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, Rafael Segovia, is and has been at all times relevant to the

instant matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiffs’

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiffs’ motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is


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necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.     Defendant, BAMBOO INVESTMENTS, LLC., is a limited liability

company conducting business in the State of Texas and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.     On or about September of 2021, Plaintiff attempted to but was deterred

from patronizing, and/or gaining equal access as a disabled patron to the Med

Pharmacy Dallas - Strip Mall located at 5626 Maple Ave Suite 140, Dallas, TX

75235 (“Subject Facility”, “Subject Property”).

      10.    BAMBOO INVESTMENTS, LLC., is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the shopping center and its attendant facilities, including

vehicular parking and common exterior paths of travel within the site identified by

the Dallas Assessor parcel identification number 005708000A0110000 (“Subject

Facility”, “Subject Property”).

      11.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Maple Ave, a Dallas County thoroughfare that he

frequents routinely, he is routinely where the Subject Property is located and travels


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in and about the immediate area of the Subject Property numerous times every

month, if not every week.

      12.     Plaintiffs’ access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, BAMBOO INVESTMENTS, LLC., is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile


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gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on September 26,

1991, the Department of Justice and Office of Attorney General promulgated

federal regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

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employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not thoroughly do so because of

his disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to revisit the Subject Property in the very near future

as a patron and as an independent advocate for the disabled, in order to utilize all of

the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those


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barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      23.       Defendant, BAMBOO INVESTMENTS, LLC., has discriminated

against Plaintiff (and others with disabilities) by denying his access to, and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      24.       Defendant, BAMBOO INVESTMENTS, LLC., will continue to

discriminate against Plaintiff and others with disabilities unless and until BAMBOO

INVESTMENTS, LLC., is compelled to remove all physical barriers that exist at

the Subject Property, including those specifically set forth herein, and make the

Subject Property accessible to and usable by Plaintiff and other persons with

disabilities.

      25.       A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiffs’ access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                          ACCESSIBLE ROUTES/PARKING
                                   (Exterior)



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        a. There is no van-accessible parking present in violation
           of Section 4.6 of the 1991 ADAAG and Section 502 of
           the 2010 ADAAG. This violation made it dangerous
           Plaintiff to utilize the parking facility at the Subject
           Property and caused Plaintiff undue upset and loss of
           opportunity.


        b. The paint delineating the accessible parking spaces and
           access aisles is not being maintained so that it clearly
           marks the accessible parking location in violation of 28
           CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
           Section 502.3.3 of the 2010 ADAAG. This violation
           made it dangerous for Plaintiff to utilize the parking
           facility at the Subject Property and caused Plaintiff
           undue upset and loss of opportunity.


        c. There is no van accessible parking identified as such
           with upright “Van Accessible” signage in violation of
           Section 4.6 of the 1991 ADAAG and Sections 208, 302
           and 502 of the 2010 ADAAG. This violation made it
           dangerous for Plaintiff to utilize the parking facility at
           the Subject Property and caused Plaintiff undue upset
           and loss of opportunity.


        d. There is no visible upright signage (displaying the
           International Symbol of Accessibility) designating any
           parking spaces as accessible in violation of Section 4.6
           of the 1991 ADAAG and Section 502 of the 2010
           ADAAG. This violation made it dangerous for Plaintiff
           to utilize the parking facility at the Subject Property
           and caused Plaintiff undue upset and loss of
           opportunity.



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        e. The plaintiff could not safely utilize the parking facility
           because none of the parking spaces within the parking
           facility are level and have a severe downward slope in
           violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3
           of the 1991 ADAAG and Sections 302 and 502.4 of the
           2010 ADAAG. These violations made it dangerous and
           difficult for Plaintiff to transfer from his vehicle to his
           wheelchair (and vice versa) using the parking spaces
           within the parking facility at the Subject Property.


        f. The plaintiff could not safely utilize the parking facility
           because none of the purported accessible aisles within
           the parking facility are level and have a
           severe downward slope in violation of 28 CFR §
           36.211, Sections 4.5.1 and 4.6.3 of the 1991 ADAAG
           and Sections 302 and 502.4 of the 2010 ADAAG.
           These violations made it dangerous and difficult for
           Plaintiff to transfer from his vehicle to his wheelchair
           (and vice versa) using the purported accessible aisles
           within the parking facility at the Subject Property.


        g. There is no accessible route provided within the site
           from the public sidewalk which serves the facility.
           Violation: There is no accessible route connecting the
           public sidewalk serving the subject facility and any
           accessible entrance(s) in violation of Section 4.3.2 of
           the 1991 ADAAG and Section 206.2.1 of the 2010
           ADAAG. This violation prevented equal access to the
           Subject Property and caused Plaintiff undue upset and
           loss of opportunity.




                     MAINTENANCE PRACTICES

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         e. Defendant has a practice of failing to maintain the
            accessible features of the facility, creating barriers to
            access for the Plaintiff, as set forth herein, in violation
            of 28 CFR § 36.211. This practice prevented access to
            the plaintiff equal to that of Defendant’s able-bodied
            customers causing Plaintiff loss of opportunity,
            anxiety, humiliation and/or embarrassment.

         f. Defendant has a practice of failing to maintain the
            accessible elements at the Subject Facility by
            neglecting its continuing duty to review, inspect, and
            discover transient accessible elements which by the
            nature of their design or placement, frequency of usage,
            exposure to weather and/or other factors, are prone to
            shift from compliant to noncompliant so that said
            elements September be discovered and remediated.
            Defendant failed and continues to fail to alter its
            inadequate maintenance practices to prevent future
            recurrence of noncompliance with dynamic accessible
            elements at the Subject Facility in violation of 28 CFR
            § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
            These violations, as set forth hereinabove, made it
            impossible for Plaintiff to experience the same access
            to the goods, services, facilities, privileges, advantages
            and accommodations of the Subject Facility as
            Defendant’s able-bodied patrons and caused Plaintiff
            loss of opportunity, anxiety, embarrassment and/or
            humiliation.

         g. Defendant has failed to modify its discriminatory
            maintenance practices to ensure that, pursuant to its
            continuing duty under the ADA, the Subject Property
            remains readily accessible to and usable by disabled
            individuals, including Plaintiff, as set forth herein, in
            violation of 28 CFR § 36.302 and 36.211. This failure

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                by Defendant prevented access to the plaintiff equal to
                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity, anxiety, humiliation
                and/or embarrassment.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendants’ current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiffs’

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to non-compliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic


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accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions, and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the


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Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relatively low cost of the

necessary modifications, and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiffs’ sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able-bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR


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36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, BAMBOO INVESTMENTS, LLC., is required to

remove the physical barriers, dangerous conditions, and ADA violations that exist

at the Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiffs’ requested relief serves the public interest.

      39.    Plaintiffs’ counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, BAMBOO INVESTMENTS, LLC., pursuant

to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and




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equal access to the subject premises, as provided by the ADA unless the injunctive

relief requested herein is granted.

      40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.     That the Court find Defendant, BAMBOO
             INVESTMENTS, LLC., in violation of the ADA and
             ADAAG;

      B.     That the Court enter an Order requiring Defendant,
             BAMBOO INVESTMENTS, LLC., to (i) remove the
             physical barriers to access and (ii) alter the Subject
             Property to make the Subject Property readily accessible
             to and useable by individuals with disabilities to the full
             extent required by Title III of the ADA;

      C.     That the Court enter an Order directing Defendant,
             pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
             to maintain its accessible features and equipment so that
             the facility remains accessible to and useable by
             individuals with disabilities to the full extent required by
             Title III of the ADA;

      D.     That the Court enter an Order directing Defendant to
             implement and carry out effective policies, practices, and
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         procedures to maintain the accessible features and
         equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
         §36.211.

   E.    That the Court enter an Order directing Defendant to
         evaluate and neutralize its policies and procedures towards
         persons with disabilities for such reasonable time so as to
         allow them to undertake and complete corrective
         procedures;

   F.    An award of attorneys’ fees, costs (including expert fees),
         and litigation expenses pursuant to 42 U.S.C. § 12205 and
         an award of monitoring fees associated with insuring that
         the Defendant is in compliance with the ADA.

   G.    An award of interest upon the original sums of said award
         of attorney’s fees, costs (including expert fees), and other
         expenses of suit; and

   H.    Such other relief as the Court deems just and proper,
         and/or is allowable under Title III of the Americans with
         Disabilities Act.




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Dated this the 10th day of March, 2022.


                               Respectfully submitted,

                               /s/ K. Michael Sturgill /s/
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DEFENDANT TO BE SERVED:
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